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UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK



 In re:

 CELSIUS NETWORK LLC, et al.,                          Bankruptcy Case No. 22-10964-MG

                                  Debtor(s).           Adversary Proceeding No. 22-01139-MG

                                                       (Jointly Administered)
 CELSIUS NETWORK LIMITED and
 CELSIUS KEYFI LLC,

                                  Plaintiffs,
                  v.

 JASON STONE and KEYFI INC.,

                                  Defendants.



        AFFIDAVIT OF JASON STONE IN SUPPORT OF DEFENDANTS’
    OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

          I, Jason Stone, declare under penalty of perjury:

          1.     During the Summer of 2020, I formed KeyFi, Inc. (“KeyFi”) to facilitate my

deployment of various cryptocurrencies in decentralized finance markets (“DeFi”), as well as

staking cryptocurrencies in order to generate additional cryptocurrency, often referred to as

generating “yield.”

          2.     Both Alex Mashinsky, the then-CEO of Celsius, and Nuke Goldstein, the then-

CTO of Celsius, were investors in KeyFi.

          3.     Shortly after the formation of KeyFi, due to the complexity associated with

deploying funds into DeFi, Celsius Network Limited (“Celsius”) sought to utilize KeyFi’s
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services to help invest its customer deposits into DeFi in order to satisfy its need to generate

revenue to pay its interest to its customers.

       4.      Celsius began deploying assets to KeyFi before the parties had finalized the

agreements which would govern their relationship. Celsius deployed assets to KeyFi by sending

them to a wallet whose first four characters were 0xb1 (the “0xb1 wallet”), which KeyFi had

access to.

       5.      In order to facilitate KeyFi’s investments on behalf of Celsius, Celsius and KeyFi

negotiated an Asset Purchase Agreement (the “APA”), ECF No. 24-4, a Services Agreement,

ECF No. 24-5, and an LLC Agreement for Celsius KeyFi LLC, ECF No. 24-2, the LLC that

Celsius would use to acquire the assets of KeyFi. The agreements formalized the preexisting

relationship of KeyFi and Celsius and included that I would be the CEO of Celsius KeyFi. These

agreements also provided KeyFi with substantial additional compensation in the form of a profit

share calculated in US Dollars.

       6.      KeyFi—and then Celsius KeyFi—managed Celsius assets continually from

September 2020 through March 2021.

       7.      Over the course of KeyFi and Celsius KeyFi’s management of assets on behalf of

Celsius, they deployed nearly $2 billion dollars’ worth of customer assets, an amount I

understood to be approximately 10-15% of the total sum of customer deposits held by Celsius.

       8.      Celsius was able to easily monitor—in real time—the use and deployment of

crypto-assets associated with the 0xb1 wallet through an online application called Debank.

       9.      I would frequently present at weekly Celsius leadership meetings, held on

Tuesdays. Those meetings included then-CEO Alex Mashinsky. During those meetings, Mr.

Mashinsky praised me as a trading genius and even referred to me as his protégé. Likewise,




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during those meetings, then-CFO Harumi Urata-Thompson and Mr. Mashinsky would present

the Debank screenshots to other executives and boast about the performance of the Celsius

KeyFi venture, especially relative to the rest of Celsius’ investment portfolio.

       10.     Further, Celsius continuously provided KeyFi and Celsius KeyFi with tens of

millions of dollars’ worth of customer deposits throughout the period of September 2020 through

February 2021.

       11.     During the period of KeyFi and Celsius KeyFi’s management of Celsius’ assets,

based on these statements and the continued deployment of customer funds through KeyFi and

Celsius KeyFi, I understood Celsius’ leadership to be very pleased with the performance of

KeyFi and Celsius KeyFi’s strategy of deploying crypto-assets in DeFi and earning yield.

       12.     Based on the results we were achieving, I also understood and expected that

KeyFi would receive a large profit share payment. Further, based on Celsius’ leaderships

acknowledgement of the success of the Celsius KeyFi investment, I understood that Celsius

agreed that KeyFi was entitled to a substantial profit share. Indeed, the first payment of that

profit share was owed on December 31, 2020.

       13.     Yet because the computation of Net Profits under the APA had not yet been

completed, Mashinsky authorized me and KeyFi to take advances on the profit share prior ahead

of a formal computation.

       14.     Those advances, which were earned by and owed to KeyFi, were used to purchase

a variety of NFTs using funds from the 0xb1 wallet. These purchases began in late 2020.

       15.     Celsius and its then-CEO Alex Mashinsky were well aware of these purchases of

NFTs, and that they were to be treated as advances on the compensation owed under the APA.

Indeed, anyone with an internet browser could view these purchases and see that the 0xb1 wallet




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was purchasing these NFTs. Further, I created a twitter account associated with the 0xb1 wallet

that publicly promoted the NFTs I was purchasing.

         16.   The Cryptopunk and Bullrun Babe NFTs that Celsius references in its Motion

were purchased while I was still CEO of Celsius KeyFi and after the first two payments were

earned under the APA (which required payment on the 15th of each month).

         17.   Because all transactions on a blockchain are publicly traceable, large transfers of

cryptocurrencies can be tracked by anyone and malicious actors can use that information to

target specific wallets and individuals. Due to this, KeyFi and I used the Tornado Cash service,

which makes it more difficult to associate cryptocurrencies with specific wallets in order to

protect our identity on the blockchain and to reduce the risk of malicious actors attacking our

funds.

         18.   I later discovered that Celsius lacked basic security controls to protect its

customer funds, that Celsius’ internal accounting was fatally flawed, and that Celsius was using

customer funds to manipulate crypto-asset prices to their benefit.

         19.   In particular, I learned that Celsius was utilizing customer bitcoin to purchase

Celsius’ proprietary “CEL Token” in order to inflate its value and create the appearance of a

liquid market for CEL Tokens.

         20.   I also learned that Celsius’s flawed accounting practices led Celsius to discovery

that it had a $200 million liability for which the company had no information—including how or

why it owed this amount.

         21.   Based on these risky practices, I determined I could no longer work with Celsius.

Thus, in March 2021, I informed Celsius that I would be resigning as CEO of Celsius KeyFi.




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        22.     In the period that followed, I worked with Celsius to unwind the various positions

associated with the Celsius KeyFi accounts, including the 0xb1 wallet, and return those funds to

Celsius. Communications to the effect are cited by Celsius in their motion.

        23.     I did not, however, work to return the assets that I had purchased with the

authorized advance compensation I was provided by Celsius and Mashinsky. Instead, as I was

entitled to do with KeyFi’s property, I transferred these assets to other accounts KeyFi and I

controlled, including the 0x50dd wallet.

        24.     It was only after I worked with Celsius to return approximately $1.3 billion in

customer funds that Celsius had provided me to deploy that Celsius began to insist that I had

either stolen or lost millions of dollars in assets.

        25.     On April 7, 2021, KeyFi and my former counsel received a letter from an attorney

with Akin Gump, Mitchell Hurley, that claimed that

                Celsius and Celsius KeyFi will hold Mr. Stone personally liable for his
                breaches of contract and other duties to the fullest possible extent,
                including, without limitation, with respect to any losses resulting from
                price increases in ETH provided by Celsius to Mr. Stone that he
                apparently converted without authorization into other currencies…

ECF No. 24-10.

        26.     This statement was confusing to me because it appeared that Celsius was

effectively claiming that I was personally liable for any “impermanent loss” associated with the

DeFi strategies I had successfully deployed.

        27.     Impermanent loss is a term for the opportunity cost associated with participating

in a liquidity pool and is inherent in most DeFi Activities. For example, to earn money in DeFi as

a “liquidity provider,” you must deposit two different crypto-assets into a liquidity pool that

permits trades between those two assets, e.g., BTC and ETH. The liquidity pool incents market

participants to ensure that the US dollar value of the two assets in the pool remains the same.


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Consequently, as the price of one asset goes up (e.g., BTC), market participants will buy that

asset from the pool using the trading pair asset, increasing the amount of the lower priced asset

(ETH) in the pool and decreasing the amount of the higher priced asset (BTC) in the pool. This is

how liquidity pools adjust price – it relies on market forces to arbitrage the lower priced asset,

and as the higher-priced asset becomes scarcer in the pool, it’s “price” in the pool rises to match

the market.

       28.     In the example above, as BTC rises in price, the market will put ETH into the

pool to buy the “cheap” BTC from the pool, thus increasing the amount of ETH in the pool,

decreasing the amount of BTC in the pool, and increasing the “price” the pool charged for BTC.

In this example, if you had put $100,000 into a $1M pool, you should still have about 10% of the

pool’s value when you withdraw from the pool (plus 10% of the fees). But since the market

pushed ETH into the pool and extracted BTC, your 10% share of the pool’s liquidity will be

comprised of more ETH and less BTC then you deposited. Conversely, had you not deposited

your BTC into the liquidity pool, you would have kept the same amount of BTC. And since the

price of BTC went up, you may have made more money by simply holding the BTC. This

concept of “you would have been better off if you had not provided the liquidity,” is known as

“impermanent loss.” Put simply, impermanent loss is the difference in the balance of assets

provided compared to the balance of assets returned by the liquidity pool in U.S. terms.

       29.     Celsius’ owners and executive understood the nature of DeFi and the inherent risk

of impermanent loss. In particular, they understood that the strategies deployed by KeyFi would

expose Celsius deposits to impermanent loss because Celsius would ultimately be required to

return the same mix of assets to its customers. This risk, however, was easily resolved: a simple

hedging strategy that would protect against the risk of price swings would ensure that Celsius




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could profit from DeFi while at all times being able to return customer deposits. Celsius

executives assured me that Celsius was properly hedging the risk of impermanent loss from

Celsius KeyFi Activities. Indeed, the importance of these hedging activities was discussed during

the negotiation and drafting of the APA and Services Agreement.

       30.     Throughout my tenure with KeyFi and Celsius KeyFi, I was repeatedly assured

that Celsius had a global risk management platform that was hedging the Celsius KeyFi

investments. Unfortunately, I learned that Celsius had been lying to me and it had failed to hedge

against impermanent loss.

       31.     The April 7, 2021, letter from Mr. Hurley was therefore confusing because during

the parties’ seven-month course of dealing, and as memorialized in the APA and Services

Agreement, neither Celsius KeyFi nor I had any responsibility for impermanent loss, which

would only be accounted for in token-based accounting. Instead, all of the accounting would be

performed in US dollars, such that there would be no impermanent loss.

       32.     On June 18, 2021, KeyFi and my former counsel explained in correspondence to

Celsius’ attorneys that KeyFi and I were “entitled to compensation under the Asset Purchase

Agreement [because Celsius was] required to pay Celsius KeyFi LLC a fixed percentage of the

profits generated by the services Mr. Stone provided.” This correspondence is attached as

Exhibit A.

       33.     On July 7, 2022, KeyFi filed a complaint against Celsius and Celsius KeyFi

seeking payment under the APA, as well as additional claims for an accounting, negligent

misrepresentation, and fraud in the inducement. The Complaint in this action is attached as

Exhibit B. Celsius never responded to this action, which was automatically stayed by this

bankruptcy action on July 13, 2022.




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       34.     Plaintiffs first raised concerns regarding the 25,000 Staked Eth referenced in their

motion for an injunction on September 13, 2022.

       35.     At that time, however, neither I nor, on information and belief, anyone else

associated with KeyFi, had access to the private keys associated with those Staked Eth because

we had deleted the same after deploying those assets on Celsius’ behalf.

       36.     The funds that Celsius seeks to enjoin represent the entirety of the assets available

to KeyFi.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

Dated: November 28, 2022


                                                     Jason Stone




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